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IN THE UNITED STATES DisTRlCT CoURT FoR THE F“-E*-F f' `
WESTERN DISTRICT oF TENNESSEE, WESTERN Drvisloé\i: `
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L`J.C.

HELEN M. STARNES,

 

Plaintiff,

v. No. 01-2804 B

SEARS, ROEBUCK & COMPANY,

JONES LANG LaSALLE AMERICAS, [NC.,

d/b/a JONES LANG LaSALLE, INC., VALOR
SECURITY SERVICES, INC., and OTHER
UNK_NOWN PARTIES HAVING AN OWNERSHIP
INTEREST and/or RESPONSIBILITY FOR
SECURITY AT SOUTHLAND MALL,

Defendants.

 

ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION AND
MEMORANDUM FOR CONTINUANCE OF TRIAL DATE

 

lt appearing to the Court that the PIaintiff’s motion is Well taken, it is therefore
ORDERED, ADJUDGED AND DECREED that the motion is granted and that the trial
in this matter, currently set for May 23, 2005, be continued.

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Honorable J. Breen
US DISTRICT COURT

